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                                                              JUAN FERNANDEZ-BARQUIN
                                                             CLERK OF THE COURT AND COMPTROLLER
                                                                      MIAMI-DADE COUNTY
                                                                          Contact Us           My Account         A




  CIVIL, FAMILY AND PROBATE COURTS ONLINE SYSTEM


        Not all search results will be displayed on-line. For example, the following case types (Sealed, Juvenile, Adoption and Mental Health Cases) may or
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        Security Matrix,

    RANFORD TAYLOR VS FLORIDA EAST COAST RAILWAY CORPORATION ET AL

        Local Case Number:          —2023-027816-CA-01                   Filing Date:        = 12/07/2023

        State Case Number:         = 132023CA02781601GE01           Judicial Section:        © CA25 - Downtown Miami - Judge Manno-Schurr, Valerie

   Consolidated Case No.:           N/A                             Court Location:           73 West Flagler Street, Miami FL 33130

                    Case Status:    OPEN                                  Case Type:          Discrimination - Employment or Other




    3= Related Cases                                                                                                                                Total Of Related Cases:0    “F
    ses         .

    &     Parties                                                                                                                                         Total Of Parties: 3

   Party Description           Party Name                                   Attorney Information                          Other Attorney(S)

   Plaintiff                   Taylor, Ranford                              B#:.   (Bar Number)21872
                                                                                                       McGill, David K.

   Defendant                   Florida East Coast Railway Corporation


   Defendant                   Granadillo, Victor




    “ Hearing            Details                                                                                                                        Total Of Hearings: 0    +


    3» Dockets                                                                                                                                           Total Of Dockets:10    ™

                                                                                   Event
                DIN        Date            Book/Page      DocketEntry              Type           Comments

     rs         10         03/20/2024                     Amended                  Event
                                                          Complaint


     rs         9          02/05/2024                     Service                  Event
                                                          Returned

     rs         8          02/05/2024                     Order Setting            Event
                                                          CM Deadline


                           01/08/2024                     20 Day                   Service
                                                          Summons
                                                          Issued

     Ps         7          01/08/2024                     ESummons 20              Event          RE: INDEX # 5.
                                                          Day Issued                              Parties: Florida East Coast Railway Corporation
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                                                                             Event
               DIN     Date            Book/Page        Docket Entry         Type            Comments

               6       01/06/2024                       Receipt:             Event           RECEIPT#:3110038 AMT PAID:$10.00 NAME:MCGILL,         DAVID K. 2655 S LE
                                                                                             JEUNE RD STE 401 CORAL GABLES FL 33134-5832 COMMENT:            ALLOCATION
                                                                                             CODE QUANTITY UNIT AMOUNT        3139-SUMMONS       ISSUE FEE 1 $10.00 $10.00
                                                                                             TENDER TYPE:EFILINGS TENDER AMT:$10.00 RECEIPT DATE:01/06/2024
                                                                                             REGISTER#:311   CASHIER:EFILINGUSER


               5       01/04/2024                       (M) 20 Day (C)       Event
                                                        Summons (Sub)
                                                        Received


               3       12/08/2023                       Receipt:             Event           RECEIPT#:3200190 AMT PAID:$401.00 NAME:MCGILL,         DAVID K. 2655 S LE
                                                                                             JEUNE RD STE 401 CORAL GABLES FL 33134-5832 COMMENT:            ALLOCATION
                                                                                             CODE QUANTITY UNIT AMOUNT        3100-CIRCUIT FILING FEE 1 $401.00 $401.00
                                                                                             TENDER TYPE:EFILINGS TENDER AMT:$401.00 RECEIPT DATE:12/08/2023
                                                                                             REGISTER#:320 CASHIER:EFILINGUSER


      s                12/07/2023                       Complaint            Event




      s                12/07/2023                       Civil Cover          Event
                                                        Sheet - Claim
                                                       Amount




    44 BAC
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                                                                                      “Sp we 1RY s
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                                     Juan Fernandez-Barquin
                               Clerk of the Court and Compiroller
                                         Miami-Dade County

                                           73 W. Flagler Street
                                          Miami, Florida 33130

                                              305-275-1155



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         FORM       1.997.      CIVIL COVER SHEET

         The civil cover sheet and the information contained in it neither replace nor supplement the filing
         and service of pleadings or other documents as required by law. This form must be filed by the
         plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
         to section 25.075, Florida Statutes. (See instructions for completion.)


                   I.        CASE STYLE

                         IN THE CIRCUIT/COUNTY COURT OF THE ELEVENTH   JUDICIAL CIRCUIT,
                                  IN AND FOR MIAMI-DADE  COUNTY,  FLORIDA

         Ranford Taylor
         Plaintiff                                                                Case #
                                                                                  Judge
         vs.
        Florida East Coast Railway Corporation, Victor Granadillo
         Defendant



                   Il.       AMOUNT   OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

         L]    $8,000 or less
         L] $8,001 - $30,000
         L] $30,001- $50,000
         CI $50,001- $75,000
         L] $75,001 - $100,000
               over $100,000.00

                  Tt.    TYPE OF CASE            (If the case fits more than one type of case, select the most
         definitive category.) If the most descriptive label is a subcategory (is indented under a broader
         category), place an x on both the main category and subcategory lines.
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   CIRCUIT CIVIL

   XO Condominium
   O Contracts and indebtedness
   Cj Eminent domain
   Co Auto negligence
   O Negligence—other
           O Business governance
           OO Business torts
           O Environmental/Toxic tort
           C1 Third party indemnification
           O Construction defect
           O Mass tort
           O Negligent security
           XO Nursing home negligence
           O Premises liability—commercial
           OC Premises liability—residential
   Oi Products liability
   ZC Real Property/Mortgage foreclosure
           OC Commercial foreclosure
           CO Homestead residential foreclosure
           OC Non-homestead residential foreclosure
           O Other real property actions

   _|Professional malpractice
           0 Malpractice—business
           O Malpractice—medical
           0 Malpractice—other professional
   & Other
           O Antitrust/Trade regulation
           O Business transactions
           O Constitutional challenge—statute or ordinance
           O Constitutional challenge—proposed amendment
           O Corporate trusts
              Discrimination—employment or other
           OC Insurance claims
           Cc Intellectual property
           OC Libel/Slander
           0 Shareholder derivative action
           O Securities litigation
           OC Trade secrets
           O Trust litigation

   COUNTY CIVIL

   CX Small Claims up to $8,000
   O Civil
   L] Real property/Mortgage foreclosure
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   CL] Replevins
   CL] Evictions
           C1        Residential Evictions
           L] Non-residential Evictions
   CL) Other civil (non-monetary)

                                               COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes LI No

           IV.        REMEDIES SOUGHT (check all that apply):
                 Monetary;
                 Nonmonetary declaratory or injunctive relief;
                 Punitive

           Vv.           NUMBER OF CAUSES OF ACTION:                 [ ]
           (Specify)
                 7
           VI.           IS THIS CASE A CLASS ACTION LAWSUIT?
                         CL] yes
                         Xx no

           Vil.          HAS NOTICE          OF ANY KNOWN      RELATED       CASE    BEEN FILED?
                           no
                         OO yes If “yes,” list all related cases by name, case number, and court.

           VII.          IS JURY TRIAL DEMANDED IN COMPLAINT?
                            yes
                         C1 no


           IX.           DOES      THIS CASE    INVOLVE     ALLEGATIONS         OF SEXUAL      ABUSE?
                         L] yes
                            no


   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ David McGill                                   Fla. Bar # 21872
                   Attorney or party                                           (Bar # if attorney)

  David McGill                                   12/07/2023
   (type or print name)                                 Date

                                                        _3-
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                         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                                 IN AND FOR MIAMI-DADE COUNTY, FLORIDA


        3
                RANFORD TAYLOR, an individual                       CASE NO.:
        4
                                     ae                                 COMPLAINT        FOR DAMAGES
        5                        Plaintiff,

        6                VS.                                       1.      Failure to Accommodate
                                                                   2.      Religious Discrimination and
        |       FLORIDA EAST COAST RAILWAY                                 Harassment
        P       CORPORATION, a Foreign Profit                      3.      Retaliation (Religion)
                Corporation, and Victor Granadillo, an         | 4-        National Origin Harassment
        9       individual                                         5.      National Origin Discrimination
                                                                   6.      Retaliation (National Origin)
    10                           Defendants.                       7.      Tortious Interference with a
    a                                                                      Business/Employment Relationship

    12

    13                                                              JURY TRIAL DEMANDED
    14

    15

    16                                         PRELIMINARY ALLEGATIONS

    i                                                         (Parties)

    nS              1.         Plaintiff Ranford Taylor (hereinafter “Plaintiff’) is, and at all times material
    19
            hereto was, an adult individual residing in the county of Broward, state of Florida.
    20
    b1             2.          Defendant Florida East Coast Railway Corporation (“Defendant FECR” or

    22      “Defendant’’) hereinafter) is, and at all times material hereto was, a Foreign profit corporation,

    23      authorized to do business and doing business in, the state of Florida, with its offices located in
    24
            Miami-Dade County, Florida. Defendant is and has been a covered “employer” within the
    25
    36      meaning of FCRA § 760.02, at all times relevant to this Complaint.

    27
                                                               - 1 of 18
    28                                                              _
                           RANFORD TAYLOR v. FLORIDA EAST COAST RAILWAY/ COMPLAINT FOR DAMAGES
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           3.       Defendant Victor Granadillo (“Defendant Granadillo”’), is, and at all times

   material hereto is an individual residing and doing business in the county of Miami-Dade, state

   of Florida.

                                                  (Venue)




           4.       The actions alleged herein were entered into in the county of Miami-Dade, state of

   Florida, and the acts and transactions herein alleged took place in the county of Miami-Dade, state

   of Florida.




                                               (Jurisdiction)

           5.       This is an action for damages in excess of the sum of Thirty Thousand dollars

   ($30,000.00) exclusive of interest, costs and/or attorneys’ fees.

           6.       This Court has jurisdiction over this case pursuant to Florida Statutes §§760.11

   and 761.03-761.04. All conditions precedent to jurisdiction have occurred:

                    a.     Plaintiff filed a charge of discrimination with the Equal Employment

           Opportunity Commission (the “EEOC’”’) within 300 days of the commission of the

           unlawful employment practices of the Defendant FECR;

                    b.     On or about September 27, 2023, the EEOC found reasonable cause to

           some of the matters alleged in the charge and issued its Notice of Right to Sue;

                    c.     This complaint is being timely filed within 90 days of Plaintiffs receipt of

           the EEOC’s Notice of Right to Sue.




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                                               Statement of Case

            7.        Defendant FECR is a cargo transportation company.

            8.        At all times relevant, Plaintiff is and was an adult male of Jamaican national

   origin and a devoted Hebrew Israelite.

            9.        At all times relevant, Plaintiff has been a lifelong member of the Tenth

   Tabernacle Miami, which observes the Sabbath which begins on Friday evening at sundown and

   ends Saturday evening at sundown.

             10.      Plaintiff began his employment in 2009 and most recently held the position of

   Signal Maintenance at Defendant FECR. Plaintiff was highly qualified to perform the duties

   expected of him at his position.

            11.     | Throughout the course of his employment and up to the time of his termination,

   Plaintiff consistently performed his duties in an exemplary manner.

            12.       Since 2015, Defendant FECR was aware that he was a devote Hebrew Israelite,

   and that it was forbidden for the Plaintiff to work on Saturdays based on his religious beliefs and

   the Bible.

            13.       Plaintiff notified Defendant FECR of his need to have Saturdays off pursuant to

   his religion.

            14.       Initially, Defendant FECR accommodated Plaintiff by allowing him to have

   Saturdays off from work.

            15.       In 2017, Defendant Granadillo was Plaintiff's co-worker and repeatedly objected

   to Plaintiff's reasonable accommodation for Saturdays off to practice his faith.

            16.       In fact, Defendant FECR allowed Defendant Granadillo to harass Plaintiff


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   regarding his religious beliefs and threaten Plaintiff. Defendant Granadillo told Plaintiff that he

   “would fire him when I become supervisor.”

           17.        In May 2019 Defendant Granadillo became Plaintiff's supervisor.

           18.        While Defendant Granadillo was Plaintiff's supervisor, Plaintiff was harassed and

   exposed to a hostile work environment because his religion and national origin.

           19.        Defendant FECR management and Defendant Granadillo would force Plaintiff to

   work on the Sabbath and gave preferential treatment to Hispanic individuals outside his

   protected class.

           20.        On several occasions, Defendant FECR management would unjustly criticize and

   make inappropriate jokes directly and indirectly to Plaintiff.

           21.        Plaintiff was told several times by Defendant Granadillo and management that

   they would no longer honor his reasonable accommodation. Plaintiff attempted to volunteer to

   work on Sundays for those who practice their religion on Sunday, however, this request was

   denied by Defendant FECR.

           22.        Again, Defendant Granadillo told Plaintiff that he was going to have him fired.

           23.        On September 9, 2020, Plaintiff was wrongfully reprimanded for allegedly not

   preforming his duties.

           24.        A week later on September 16, 2020, Plaintiff was reprimanded by Defendant

   Granadillo for failing to follow protocols and received a 30-day suspension.

           25.    | On November 6, 2020, Plaintiff was reprimanded for not following safety

   protocols. None of his Hispanic coworkers or employees outside his protected class were

   reprimanded.

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          26.    | On November 30, 2020, Plaintiff made a lawful complaint against Defendant

   FECR management for discrimination, unfair practices, and hostile work environment.

          27.      Again, on December 20, 2020, Plaintiff was reprimanded for safety violations.

   None of his Hispanic coworkers or employees outside his protected class were reprimanded.

          28.      Soon thereafter, on December 22, 2020, Plaintiff was terminated.




                                                  COUNT ONE

                              Failure to Accommodate in Violation of the FCRA

          29.      Plaintiff incorporates by reference herein and re-alleges the allegations in

   Paragraph | through 28 above as though set forth fully herein.

          30.      Plaintiff is, and at all times relevant herein was, a practicing member of the Tenth

   Tabernacle Miami. Pursuant to his Hebrew Israelite religious beliefs and in order to keep

   Saturday and/or the Sabbath holy, Plaintiff abstains from secular work from Friday evening at

   sundown and to Saturday evening at sundown.

          31.      Since on or about October of 2019, Plaintiff made numerous requests, both

   verbally and in writing, for religious accommodation.

          32.      The accommodation the Plaintiff requested would not have caused an undue

   hardship to the Defendant FECR.

          33.      Instead, of reasonably accommodating Plaintiff’s sincerely held religious beliefs,

   Defendant disciplined Plaintiff and ultimately fired him.

          34.    — By virtue of Defendant’s actions and inactions as set forth above, Defendant

   FECR has violated the FCRA with regard to Plaintiff by failing to accommodate his sincerely

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   held religious beliefs.

            35.       Plaintiff’s sincerely held religious belief was a motivating factor in refusing to

   accommodate Plaintiff.

            36.      The conduct of the Defendant FECR in not reasonably accommodating Plaintiffs

   beliefs was intentional. Defendant FECR engaged in a discriminatory practice or practices with

   malice or with reckless indifference to the federally protected rights of the Plaintiff.

            37.    | Asadirect and proximate result of Defendant’s actions, Plaintiff has suffered and

   will continue to suffer lost wages, benefits and entitlements, damage to career and reputation,

   personal humiliation, mental anguish, and embarrassment justifying an award including, but not

   limited to, back pay, lost benefits, front pay, compensatory damages, and punitive damages

   according to proof against Defendant FECR.

                                                    COUNT TWO

                       Violation of the FCRA — Religious Discrimination and Harassment

            38.      Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

   through 28 as if set out in full herein.

            39.      Atall times material hereto, Defendant FECR failed to comply with the FCRA,

   which states, in part, that it is an unlawful employment practice for an employer “[t]o discharge

   or to fail or refuse to hire any individual, or otherwise to discriminate against any individual with

   respect to compensation, terms, conditions, or privileges of employment, because of such

   individual's race, color, religion, sex, national origin, age, handicap, or marital status.” (emphasis

   added)

            40.      Plaintiff is a member of protected class of citizens who are Hebrew Israelites.

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            41.      Hebrew Israelite is a recognized religious belief and the Defendant FECR was

   aware of Plaintiff's religious beliefs.

            42.      At all times necessary, Plaintiff was qualified to perform his duties.

            43.      After late 2019, Defendant FECR failed to legitimately offer Plaintiff any

   reasonable accommodation for Plaintiff's religious beliefs and actively engaged in actions to

   discourage other employees from accommodating Plaintiff's religious beliefs.

            44.    —_ In its continuing effort to refuse any reasonable accommodation of Plaintiff's

   religious beliefs, Defendant FECR continuously reprimanded Plaintiff for following his religious

   beliefs until the Defendant FECR ultimately fired Plaintiff on December 22, 2020.

            45.      Because of Plaintiff's religious beliefs, Defendant FECR discriminated against

   Plaintiff and created a hostile work environment for Plaintiff which included, inter alia, allowing

   other employees to mock Plaintiffs religious beliefs on a continuous basis, reprimanding

   Plaintiff for following his religious beliefs, and firing Plaintiff.

            46.      Defendant FECR’s discrimination and harassing conduct towards Plaintiff was

   based on his religious beliefs.

            47.    | Defendant FECR’s conduct was pervasive and regular and detrimentally affected

   Plaintiff.

            48.      Similarly situated employees who are not Hebrew Israelites were not subjected to

   the conduct described and referred to in paragraphs | through 28 and 38 through 47 of this

   Complaint.

            49.      Defendant FECR violated the FCRA by discriminating against Plaintiff because

   of his religion. Alternatively, Plaintiffs religion was a motivating factor which prompted the

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   Defendant FECR to harass and fire Plaintiff.

            50.       Asa   direct and proximate result of the Defendant FECR’s conduct, Plaintiff has

   suffered, is now suffering and will continue to suffer emotional distress, humiliation,

   embarrassment, and economic losses.

            51.       Any alleged nondiscriminatory reason for this treatment of Plaintiff by the

   Defendant FECR is a mere pretext for the actual reason for discriminating against him based on

   his religion.

            52.     | Defendant FECR’s actions were malicious and were recklessly indifferent to

   Plaintiff's rights pursuant to Fla. Stat. §760.10.

            53.       The aforementioned actions of the Corporate Defendant FECR were done

   wantonly, willfully, maliciously and with reckless disregard of the consequences of such actions.

                                                   COUNT THREE

                                         Violation of the FCRA — Retaliation

            54.       Plaintiff incorporates by reference herein and re-alleges the allegations in

   Paragraph 1 through 28 above as though set forth fully herein.

            55.       Plaintiff is, and at all times relevant herein was, a practicing member of the Tenth

   Tabernacle Miami. Pursuant to his Hebrew Israelite religious beliefs and in order to keep

   Saturday and/or the Sabbath holy, Plaintiff abstains from secular work from Friday evening at

   sundown and to Saturday evening at sundown.

            56.       Plaintiff engaged in actions protected by the FCRA to receive accommodations

   from Defendant FECR for his religious beliefs, including, but not limited to, making numerous

   oral and written requests for accommodation.

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           57.      Because of Plaintiff's protected actions, Defendant FECR retaliated against

   Plaintiff by, among other things, creating a hostile work environment for Plaintiff, reprimanding

   Plaintiff for his religious beliefs, and terminating Plaintiff.

           58.      The conduct of the Defendant FECR in retaliating against Plaintiff because of his

   protected actions was intentional. Defendant FECR engaged in a discriminatory practice or

   practices with malice or with reckless indifference to the protected rights of the Plaintiff.

           59.      Asa   direct and proximate result of Defendant FECR’s actions, Plaintiff has

   suffered and will continue to suffer lost wages, benefits and entitlements, damage to career and

   reputation, personal humiliation, mental anguish, and embarrassment justifying an award

   including, but not limited to, back pay, lost benefits, front pay, compensatory damages, and

   punitive damages according to proof against Defendant FECR.

                                               COUNT FOUR

                 National Origin Harassment — Violation of Florida Statute 760.10(a)

                      as against Defendant FLORIDA EAST COAST RAILWAY

           60.      Plaintiff repeats and realleges each and every allegation in paragraphs | through

   28 above as though fully set forth at length herein.

           61.      Atall times mentioned in this cause of action, all provisions of the Florida Civil

   Rights Act of 1992 were in full force and effect and were binding on Defendant FECR.

           62.       Atall times mentioned in this cause of action, Plaintiff was an employee of

   Defendant FECR and Defendant FECR was an Employer as defined by Florida Statute 760.02

   (7).

           63.      Plaintiff is a male of Jamaican origin.     During Plaintiff's employment with

                                                    - 9 of 18


                 RANFORD TAYLOR v. FLORIDA EAST COAST RAILWAY/ COMPLAINT FOR DAMAGES
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     Defendant FECR, Defendant FECR harassed Plaintiff on the basis of his national origin

     (Jamaican) and subjected Plaintiff to an intimidating, hostile and offensive work environment.

     Defendant’s harassment included, but was not limited to, the following:
Ww




                     a.     Subjecting Plaintiff to different terms and conditions of employment than

                            non-Jamaican employees;

                            Holding Plaintiff to different standards than non-Jamaican American

                            employees;

                            Treating Plaintiff differently than non-Jamaican American employees by

                            not fully investigating his lawful complaint of national origin

                            discrimination and harassment;

                            Treating Plaintiff differently than non-Jamaican American employees by

                            subjecting Plaintiff to excessive harassment when evaluating his work

                            performance;

                            Subjecting Plaintiff to a hostile work environment;

                            Allowing Plaintiff's supervisor to treat Plaintiff differently than non-

                            Jamaican American employees by trying to humiliate him in front of his

                            colleagues;

                            Allowing Plaintiff's supervisor to subject Plaintiff to arbitrary, unfair, and

                            dishonest criticisms; and

                     h.     Wrongfully terminating Plaintiff without cause.

            64.      As a proximate result of Defendant FECR’s unlawful conduct, as set forth above,

     Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

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                  RANFORD TAYLOR v. FLORIDA EAST COAST RAILWAY/ COMPLAINT FOR DAMAGES
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   comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

   and other employment benefits, all to his detriment, in an amount to be shown according to

   proof.

            65.      As a further proximate result of Defendant FECR’s unlawful conduct, Plaintiff

   has suffered and continues to suffer physical personal injuries, embarrassment, humiliation,

   mental anguish, and other general damages, all to his detriment, in an amount to be shown

   according to proof.

            66.      Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

   Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as provided by Florida

   Statute $760.11.

            67.      Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues

   so triable, and any other relief the Court deems just and proper.

                                                COUNT FIVE

                  National Origin Discrimination — Violation of Florida Statute 760.10(a)

                             as against FLORIDA EAST COAST RAILWAY

            68.      Plaintiff repeats and realleges each and every allegation in paragraphs | through

   28 above as though fully set forth at length herein.

            69.      At all times mentioned in this cause of action, all provisions of the Florida Civil

   Rights Act of 1992 were in full force and effect and were binding on Defendant FECR.

            70.      At all times mentioned in this cause of action, Plaintiff was an employee of

   Defendant FECR, and Defendant FECR was an Employer as defined by Florida Statute 760.02

   (7).

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             71.      During Plaintiff's employment with Defendant FECR, Defendant discriminated

     Plaintiff on the basis of his national origin (Jamaican). Defendant’s discrimination included, but

     was not limited to, the following:

                      a.   Subjecting Plaintiff to different terms and conditions of employment than non-

                           Jamaican American employees;

                           Holding Plaintiff to different standards than non-Jamaican American

                           employees;

                           Treating Plaintiff differently than non-Jamaican American employees by not

                           fully investigating his lawful complaint of national origin discrimination and

                           harassment;

                           Subjecting Plaintiff to a hostile work environment;

                           Treating Plaintiff differently than non-Jamaican American employees by

                           refusing to transfer or reassign Plaintiff to different area;

                           Allowing Plaintiff's supervisor to treat Plaintiff differently than non-Jamaican

                           American employees by trying to humiliate him in front of his colleagues;

                           Allowing Plaintiff's supervisor to subject Plaintiff to arbitrary, unfair, and

                           dishonest criticisms; and

                      h.   Wrongfully terminating Plaintiff without cause.

             72.      AS a proximate result of Defendant FECR’s unlawful conduct, as set forth above,

     Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

     comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

     and other employment benefits, all to his detriment, in an amount to be shown according to
27
                                                       - 12 of 18
28

                   RANFORD TAYLOR v. FLORIDA EAST COAST RAILWAY/ COMPLAINT FOR DAMAGES
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   proof.

            73.      Asa   further proximate result of Defendant FECR’s unlawful conduct, Plaintiff

   has suffered and continues to suffer physical personal injuries, embarrassment, humiliation,

   mental anguish, and other general damages, all to his detriment, in an amount to be shown

   according to proof.

            74.      Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

   Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as provided by Florida

   Statute $760.11.

            75.      Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues

   so triable, and any other relief the Court deems just and proper.

                                                    COUNT SIX
                                Retaliation - Violation of Florida Statute 760.10 (7)

                           As against Defendant FLORIDA EAST COAST RAILWAY

            76.      Plaintiff repeats and realleges each and every allegation in paragraphs | through

   28 above as though fully set forth at length herein.

            77.       Plaintiff complained to Defendant FECR management regarding the national

   origin discrimination and harassment he was subjected to by Defendant FECR Management.

            78.      By terminating Plaintiff for complaining about unlawful harassment and

   discrimination, Defendant is in violation of Florida Statute 760.10(7).

            79.      At all times mentioned in this cause of action, Plaintiff was an employee of

   Defendant FECR and Defendant FECR was an employer as defined by Florida Statute 760.02(7).

            80.      During Plaintiff's employment, Defendant FECR management retaliated against

                                                   - 13 of 18


                  RANFORD TAYLOR v. FLORIDA EAST COAST RAILWAY/ COMPLAINT FOR DAMAGES
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    Plaintiff for participating in actions protected under the Florida Civil Rights Act of 1992, when

    he complained about the harassment FECR Defendants were subjecting him to as more fully set

3   forth in paragraph 77 above.
4
             81.      This retaliatory course of conduct at work, included, but was not limited to, the
5
             following:
6

                      a.   Subjecting Plaintiff to different terms and conditions of employment than

                           employees;

                      b.   Holding Plaintiff to different standards than Non-Jamaican American

                           employees;

                      c.   Treating Plaintiff unfavorably based upon his national origin;

                      d.   Treating Plaintiff differently than non-Jamaican American employees by

                           subjecting Plaintiff to excessive harassment;

                      e.   Allowing Plaintiff's supervisor to subject Plaintiff to arbitrary, unfair, and

                           dishonest criticisms; and

                      f.   Wrongfully terminating Plaintiff without cause.

             82.      AS a proximate result of Defendant FECR’s unlawful conduct, as set forth above,

    Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

    comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay,

    and other employment benefits, all to his detriment, in an amount to be shown according to

    proof.

             83.      As a further proximate result of Defendant FECR’s unlawful conduct, Plaintiff

    has suffered and continues to suffer physical personal injuries, embarrassment, humiliation,


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                   RANFORD TAYLOR v. FLORIDA EAST COAST RAILWAY/ COMPLAINT FOR DAMAGES
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   mental anguish, and other general damages, all to his detriment, in an amount to be shown

   according to proof.

           84.       Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

   Plaintiff is entitled to reasonable attorney’s fees and costs of said suit, as provided by Florida

   Statute 760.11.

           85.    Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

   triable, and any other relief the Court deems just and proper.

                                                         TSEVE

                  Tortious Interference with a Business/Employment Relationship as

                                     against Defendant Victor Granadillo

           86.       Plaintiffrepeats and realleges each and every allegation in paragraphs | through

   28 above, as though fully set forth at length herein.

           87.       Plaintiff alleges that at all times relevant to this cause of action, Defendant Victor

   Granadillo was not acting within the course and scope of his employment but rather was acting

   with ulterior purposes and without an honest belief that his actions would benefit his employer

   FECR.

           88.       Plaintiff and Defendant FECR entered into a business relationship whereby

   Plaintiff would be employed as Signal Maintenance.

           89.       Defendant Victor Granadillo knew Plaintiff had a business/employment

   relationship with Defendant FECR and knew the terms and conditions of Plaintiff's

   business/employment with Defendant FECR.



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          90.      Defendant Victor Granadillo tortiously interfered with Plaintiff's

   business/employment relationship by:

                    a.     Creating a hostile work environment on the basis of Plaintiff's religion and

                           national origin;

                    b.     Harassing Plaintiff;

                    c.     Providing misleading information to FECR management in an attempt to

                           influence and advise FECR to initiate an adverse employment action against

                           Plaintiff;

                    d.     Retaliating against Plaintiff for objecting to religion and national origin

                           discrimination/harassment and by advising and causing Plaintiff to be

                           terminated by FECR.


          91.           Defendant Victor Granadillo intended on interfering with the

   business/employment relationship between Plaintiff and Defendant FECR, when he engaged in

   the conduct outlined above in paragraph 90.

          92.       As a proximate result of Defendant Victor Granadillo’s tortious interference as

   alleged herein, Plaintiff has suffered substantial losses and damages incurred in lost income, lost

   future income, bonuses, medical benefits and other compensation, back pay, front pay, and in

   earning capacity in an amount to be determined according to proof.

          93.     Asa      further direct and proximate result of the wrongful acts of Defendant Victor

   Granadillo, Plaintiff has suffered shock, anger, embarrassment, humiliation, anguish, and other




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   emotional distress, all to Plaintiff's general damages in a sum which has not yet been finally

   ascertained, and which will be shown according to proof.

          94.     Plaintiff demands judgment against the Defendant Victor Granadillo, a trial by jury

   on all issues so triable and any other relief this Court deems just and proper.




                                        PRAYER FOR RELIEF

          WHEREFORE,         Plaintiff prays judgment against Defendants as follows:

           1.      For special and economic damages, including but not limited to, back pay and

                   front pay, past, present, and future income, compensatory damages, lost wages

                   and lost employee benefits, for all Causes of Action;

                   For general damages and non-economic damages, mental and emotional distress

                   damages, damages for physical injuries and anguish, and other special and general

                   damages according to proof, for all Causes of Action;

                   For an award of interest, including prejudgment interest, at the legal rate;

                   For Attorneys’ fees under the applicable Florida Statutes;

                   For injunctive relief including requiring Defendant FECR to adopt reasonable

                   postings and changes in personnel policies and procedures regarding race

                   harassment, discrimination and retaliation, requiring training about race

                   harassment for all managerial employees, for a permanent injunction enjoining

                   Defendant FECR, its agents, successors and employees and those acting in

                   concert with them from engaging in each of the unlawful practices, policies,

                   usages and customs set forth hereinabove, and for such other injunctive relief as

                                                  - 17 of 18


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                  the Court may deem proper;

          6.      For costs and fees of suit herein incurred;

          7.      For such other and further relief as the Court may deem proper.


   Dated this 1st day of December 2023.

                                                                 Respectfully Submitted,

                                                                /s/ DAVID MCGILL
                                                                David McGill, Esquire
                                                                Florida Bar No. 021872
                                                                Attorney for Plaintiff
                                                                The McGill Law Firm LLC.
                                                                2655 S. Le Jeune Rd Suite 310
                                                                786 375 5621 O
                                                                800 615 9815 F
                                                                dkmcgill@megilllegal.com




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  EEOC Form § (11/09)

                        CHARGE             OF       DISCRIMINATION                                                         Charge Presented To:              Agency(ies) Charge No(s):
               This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                                      []   FEPA
                      Statement and other information before completing this form.
                                                                                                                               [X] EEOC                          510-2021-00221
                                                                     Florida Commission                    On Human            Relations                                      and EEOC
                                                                                           State or local Agency, if any
 Name (indicate Mr., Ms., Mrs.)                                                                                                     Home Phone (inci. Area Code)            Date of Birth
 Mr. Ranford Taylor
 Street Address                                                                                     City, State and ZIP Code

                                           Sunrise, FL 33351


 Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government
                                                                                                                      Agency That | Believe
 Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)
 Name
                                                                                                                                    No. Employees, Members     Phone No. (include Area Code)
 Florida East Coast Railway                                                                                                          500 or More                   (904) 538-6063
 Street Address                                                                                     City, State and ZIP Code

 7150 Philips Highway, Jacksonville, FL 32256

 DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                                       DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                                   Earliest             Latest
  [     ]   RACE        [|       COLOR          [    ]          SEX          [x]         RELIGION       [x]      NATIONAL ORIGIN               01-01-2019                12-22-2020
                   RETALIATION       [|      AGE                          DISABILITY            [|         GENETIC    INFORMATION
                   []    OTHER (Specify)                                                                                                            [   ]    CONTINUING ACTION
THE PARTICULARS ARE ((f additional paper is needed, attach extra sheet(s)):
   My national origin is Jamaican and my religion is that of Hebrew Israelite. | was employed by the
  above-named company since 2009 and most recently held the position of Signal Maintenance. The
  company is aware of my religion and my reasonable accommodation to observe the Sabbath. Upon
  the commencement of Supervisor Victor Granadillo (Hispanic), he forced me to work the Sabbath and
  gave preferential treatment to Hispanic individuals outside my protected class. | advised Mr.
  Granadillo that | would gladly work on Sundays and or after the ending of the Sabbath, but this
  request was denied. Mr. Granadillo mentioned that he was going to have me fired. On September 9,
  2020, | was reprimanded by Mr. Granadillo for an allegedly not performing my duties, however this is
  untrue. Later on September 16, 2020, Mr. Granadillo reprimanded me for allegedly failing to follow
  safety protocol and | was suspended for 30 days. | grieved this reprimand and was forced to sign a
  letter accepting responsibility due to being threatened with termination had | not sign. On November
  6, 2020, | was again suspended for alleged safety violations. None of my other Hispanic counterparts
  received any reprimands for the same/similar offenses. On December 22, 2020, my employment was
  terminated.

  The reason for my termination was that | had violated company policy regarding safety.

  | believe that | was terminated due to my religion and national origin, in violation of the Civil Rights of
  1964, as amended.
! want this charge filed with both the EEOC and the State or local Agency, if any. |                           NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                                    | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct.                                         the best of my knowledge, information and belief.
                                                                                                               SIGNATURE OF COMPLAINANT



                                                                                                               SUBSCRIBED AND SWORN        TO BEFORE     ME THIS DATE
   g           ZL f                                                                                            (month, day, year)
                                                          [a7
            Date                                    tra         Uf     ‘arty Signature
      Case 1:24-cv-21329-DPG Document 1-1 Entered on FLSD Docket 04/10/2024 Page 26 of 65
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  4 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.
  C1 IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.

  DIVISION                                                                                                                   CASE NUMBER
  @ CIVIL                                               SUMMONS 20 DAY CORPORATE SERVICE                                2023-027816-CA-01
  O DISTRICTS                                                   (a) GENERAL FORMS
  CO OTHER
  PLAINTIFF(S)                                                    VS.   DEFENDANT(S)                                               SERVICE
  RANFORD        TAYLOR                                           FLORIDA       EAST    COAST      RAILWAY       CORP




  THE STATE      OF FLORIDA:

  To Each Sheriff of the State:

  YOU ARE COMMANDED               to serve this summons     and copy of the complaint or petition in this action on
  defendant(s). FLORIDA EAST COAST RAILWAY CORPORATION
                  cio U      | CORPORATION              SYSTEM




                                                                                                                                                   NI 49019
                  12               TH PINE         ISLAND        ROAD PLANTATION,        FL       24



  Each defendant is required to serve written defense to the complaint or petition on
  Plaintiff's Attorney: David McGill, Esq

  whose address is) THe McGill Law Firm LLC, 2655 S. LE JEUNE RD, SUITE 310
                        CORAL         GABLES       FL   33134



  within 20 days “ Except when suit is brought pursuant to s. 768.28, Florida Statutes, if the State of Florida, one of its agencies,
  or one of its officials or employees sued in his or her official capacity is a defendant, the time to respond shall be 40 days.
  When suit is brought pursuant to. 768.28, Florida Statutes, the time to respond shall be 30 days.” after service of this summons
  on that defendant , exclusive of the day of service, and to file the original of the defenses with the Clerk of this Clerk Court either before
  service on Plaintiff's attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant for
  the relief demanded       in the complaint or petition.

                                                                                                                                    DATE
 Juan Fernandez-Barquin
     CLERK of COURTS
                                                                   DEPUTY CLERK

                                     AMERICANS                  WITH DISABILITIES ACT OF 1990
                                                                  ADA NOTICE
  “If you        are        a person          with      a disability        who      needs      any     accommodation             in order        to
  participate in this proceeding, you are entitled, at no cost to you, to the provision of certain
  assistance. Please contact Aliean Simpkins, the Eleventh Judicial Circuit Court’s ADA
  Coordinator, Lawson E. Thomas Courthouse Center, 175 NW 1“ Avenue, Suite 2400,
  Miami,     FL    33128;    Telephone   (305)    349-7175;    TDD     (305)    349-7174,   Email
  ADA@jud11.flcourts.org; or via Fax at (305) 349-7355, at least seven (7) days before your
  scheduled court appearance, or immediately upon receiving this notification if the time
  before the scheduled appearance is less than seven (7) days; if you are hearing or voice
  impaired, call 711.”
 CLKICT. 314   Rev. 09/19                                                                                  Clerk’s web address: www.miami-dadeclerk.com
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Filing # 189138894 E-Filed 01/04/2024 08:51:24 PM

    4 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.
    C1 IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.

    DIVISION                                                                                                                              CASE NUMBER
    @ CIVIL                                                  SUMMONS 20 DAY CORPORATE SERVICE                                        2023-027816-CA-01
    O DISTRICTS                                                      (a) GENERAL FORMS
    CO OTHER
    PLAINTIFF(S)                                                       VS.   DEFENDANT(S)                                                   SERVICE
   RANFORD            TAYLOR                                           FLORIDA       EAST    COAST      RAILWAY         CORP




    THE STATE         OF FLORIDA:

    To Each Sheriff of the State:

    YOU ARE COMMANDED                  to serve this summons     and copy of the complaint or petition in this action on
    defendant(s). FLORIDA EAST COAST RAILWAY CORPORATION
                       cio U      | CORPORATION              SYSTEM




                                                                                                                                                            NI 49019
                       12               TH PINE         ISLAND       ROAD PLANTATION,         FL       24



        Each defendant is required to serve written defense to the complaint or petition on
        Plaintiff's Attorney: David McGill, Esq

    whose address is) THe McGill Law Firm LLC, 2655 S. LE JEUNE RD, SUITE 310
                             CORAL         GABLES       FL   33134



    within 20 days “ Except when suit is brought pursuant to s. 768.28, Florida Statutes, if the State of Florida, one of its agencies,
    or one of its officials or employees sued in his or her official capacity is a defendant, the time to respond shall be 40 days.
    When suit is brought pursuant to. 768.28, Florida Statutes, the time to respond shall be 30 days.” after service of this summons
    on that defendant , exclusive of the day of service, and to file the original of the defenses with the Clerk of this Clerk Court either before
    service on Plaintiff's attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant for
    the relief demanded          in the complaint or petition.

                                                                                                                 RN                          DATE
 Juan         F        dez-Barqui                         bade          a                                   s/              By |
        CLERK of COURTS!                              Hoda           Alain 9676                             j                    i               1/8/2024
                                                                       DEPUTY     CLERK                           3        2 7


                                          AMERICANS WITH DISABILITIES ACT @EF:1990
                                                      ADA NOTICE
        “If you       are        a person          with      a disability        who      needs      any        accommodation              in order         to
    participate in this proceeding, you are entitled, at no cost to you, to the provision of certain
    assistance. Please contact Aliean Simpkins, the Eleventh Judicial Circuit Court’s ADA
    Coordinator, Lawson E. Thomas Courthouse Center, 175 NW 1“ Avenue, Suite 2400,
    Miami,             FL          33128;          Telephone           (305)       349-7175;           TDD            (305)          349-7174,        Email
    ADA@jud11.flcourts.org; or via Fax at (305) 349-7355,                                             at least seven (7) days before your
    scheduled court appearance, or immediately upon receiving this notification if the time
    before the scheduled appearance is less than seven (7) days; if you are hearing or voice
    impaired, call 711.”
 CLKICT. 314        Rev. 09/19                                                                                   Clerk’s web address: www.miami-dadeclerk.com
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          IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR
          MIAMI-DADE COUNTY, FLORIDA
          CIRCUIT CIVIL DIVISION

          CASE NO.; 2023-027816-CA-01
          SECTION: CA25
          Ranford Taylor
          Plaintiff(s),

          vs.


          Florida East Coast Railway Corporation et al
          Defendant(s)
                                                                         /

                                 CASE MANAGEMENT                ORDER (GENERAL PATHWAY)




                  THIS CAUSE          came before the Court on case management review. Based on the review of
         the     file,   and   pursuant   to Rule   2.545,   Fla.   R.       Jud.   Admin.,   the   Court   has   established   Case
         Management Deadlines, and it is hereby

                  ORDERED that:


                 1. The parties shall comply with these Case Management Deadlines until further order of
                    court. The parties shall strictly comply with the deadlines and should expect that the case
                    will be tried during the anticipated trial period specified, without continuances. The parties
                    cannot agree to extend the deadlines and cannot agree to waive any portion of the
                    provisions of this order.
                2. Procedural Requirements: In addition to strict adherence to the Florida Rules of Civil
                    Procedure and the Administrative Orders of the Court, the parties shall comply with the
                    Case Management Procedures in this order. The parties may not unilaterally extend any of
                    the deadlines contained in the Case Management Procedures. Deadlines may be altered by
                    the Court where the interests of justice so require, upon prompt motion, notice and hearing.



                                                CASE MANAGEMENT                       DEADLINES
                    Deadline for Service of Complaint:                                                       04-05-2024
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         Deadline for Propounding Requests for Production,                        04-25-2024
         Requests to Admit and Interrogatories:
         Deadline for Witness and Exhibit List, including known                   05-30-2024
         experts:
         Deadline for Initial Scheduling and Setting Depositions:                 06-09-2024
         Deadline for Adding Parties:                                             07-09-2024
         Deadline for Inspections/Examinations:                                   07-24-2024
         Deadline for Expert Disclosure:                                          09-22-2024
         Deadline for Discovery Completion (Including
                ei                                                                11-21-2024
         Depositions):
         Deadline for Final Witness and Exhibit List:                             12-26-2024
         Deadline for Dispositive Motions:                                        01-10-2025
         Deadline for Pretrial Motions and Jury
         Instructions/Daubert:                                                    01-25-2025
         Deadline for ADR/Mediation:                                              02-09-2025
         Trial Ready Deadline:                                                    02-09-2025

                              CASE    MANAGEMENT          PROCEDURES
                                             Motion Practice

        . Duty to Communicate: Prior to filing any motion, counsel have a duty to confer with
          each other directly in good faith, not through staff; to attempt to narrow or resolve issues.
          “In good faith” means you are professional and temperate in your communications, you
          return phone calls and emails in a timely manner, and you do not set unreasonable
          deadlines for responses.
        . Scheduling of Hearings: Motions filed (other than dispositive motions or those requiring
          testimony) must be noticed for hearing on the first available motion calendar. Motions not
          promptly set for hearing may be ruled upon by the Court on the papers.
        . Compelling Discovery where there has been no response: The parties are to comply
          with Administrative Order 06-09 when moving to compel production of propounded
          discovery. These motions shall be submitted via courtMAP with supporting documents
          and shall not be placed on motion calendar.
        . Motions for Protective Order: Motions for protective order must be filed as soon as the
          grounds are known. Counsel should be coordinating deposition dates for specific
          parties/witnesses and have a duty to confer regarding any issues that would be the subject
          of a motion for protective order prior to scheduling the deposition. The filing of the motion
          must not be delayed until immediately prior to the scheduled deposition. A motion for
          protective order does not automatically stay the deposition and the deposition shall proceed
          unless an order granting the motion is entered by the Court.
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        . Motions for Extension: Motions for extension of time must state with specificity the
          reason why extension is needed and anticipated deadline for competition, which may not
          exceed the time allowed for the original deadline absent extraordinary circumstances. The
         Court may rule upon submission of the motion without a hearing. Any motion for extension of time
         must be preceded by a meet and confer with opposing counsel and absent agreement, be set for
         hearing immediately upon filing. Counsel should be prepared to respond promptly in the event the
         motion is denied.
        . Dispositive Motions: Motions which may dispose of specific issues, portions of the case
          or the entire case should be filed and set for hearing as soon as possible. Parties wishing to
          pursue a dispositive motion should target the essential discovery promptly. Parties should
          confer to assure necessary discovery is scheduled to be completed and will be completed
          prior to a special set hearing date. Last minute cancellations are disfavored.
        . Amendment of Pleadings: Motions to amend should be filed so as not to affect the date of
          trial. Although the Court recognizes the rule of liberality with regard to amendment of
          pleadings, liberality declines with an approaching trial date unless the amendment involves
          newly discovered information not previously available. Review your pleadings for
          necessary amendment(s) early, not as part of last-minute trial preparation.

                                                Discovery

        . Written Discovery shall be propounded promptly:


             a. Objections: If objections to written discovery involve the phrasing of the request or
                time frame of any discovery request, these objections may not be extended (even if
                the parties agree) and are due at the time the initial response is due. Failure to timely
                make these objections, constitutes a waiver. Parties shall comply with the “Duty to
                Communicate” above, prior to setting timely made objections for hearing.
             b. Documents made available for inspection and copying: If discovery responses
                provide that the documents are available for inspection and copying at a mutually
                convenient time and place, the responding party shall immediately (within 48 hours)
                provide three alternative dates and times that the documents are available for
                inspection and copying. All of the dates shall be within ten (10) days. Failure to
                provide the dates and times shall constitute a failure to respond to discovery.
                Review shall occur within fifteen (15) days of the response, absent extraordinary
                circumstances. Examples of “extraordinary circumstances” include a sole
                practitioner in trial on another case, a medical emergency, prepaid vacation, and a
                death in the family.
             c. Privilege Logs: Privilege logs are due at the time of the response and may not be
                reserved to be provided later. Privilege logs must specifically identify the document
                in accordance with Rule 1.280(b)(6), Fla.R.Civ.P.


                Failure to timely provide the privilege log may result in the waiver of the privilege.
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                This procedure requires preparation of a privilege log with respect to all documents,
                electronically stored information, things and oral communications withheld on the
                basis of a claim of privilege or work product except the following: written and oral
                communications between a party and their counsel after commencement of the action
                and work product material created after commencement of the action.


                Parties are instructed that where they believe that the divulgence of the logging
                information would necessarily cause disclosure of the allegedly privileged
                information, they must identify that the item exists and that in camera review by the
                court will be sought. The item may be described generically. However, if the Court
                determines that there is nothing inherent in the divulgence of the existence of the
                document or the logging information required that would violate privilege, the Court
                will impose sanctions for any in camera request determined to be frivolous. Jn
                camera requests by the party claiming the privilege must be signed by both the
                requesting attorney and the client, so as to assure that all are aware of the request and
                the consequences.
             d. Expert Disclosure: Parties should furnish opposing counsel with the names and
                addresses of all expert witness under Rule 1.390(a) to be called at trial and all
                information regarding expert testimony that is required by Rule 1.280(b)(5). Each
                party is limited to one expert per specialty. No other expert testimony should be
                permitted at trial. Information furnished pursuant to this paragraph should be timely
                filed.

       9. Depositions: The parties are ordered to block time now for necessary depositions to be set
          in this case Expert deposition time should be coordinated and blocked as soon as experts
          are known to ensure compliance with this schedule. Depositions may commence at any
          time. Refer to paragraph 4 above regarding motions for protective order.



                                       Witness   and Exhibits Lists


        10. Witness and Exhibit Lists: The parties shall timely exchange their witness and exhibit
            lists. The lists shall include complete proper names and addresses. If counsel chooses to
            list their bar address as the witness’ address, counsel is deemed to have agreed to produce
            the witness voluntarily as they have withheld the information necessary for a witness
            subpoena, and counsel will be responsible for assuring that witness’ presence at trial.
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                                                Mediation


        11. Mediation: Parties must mediate by the Court’s deadline. The parties are responsible for
            assuring that they have all the necessary information to value their position prior to
            mediation. If the parties fail to mediate before the mediation deadline, sanctions shall be
            imposed by the Court. Failure to timely mediate shall not constitute just cause for a trial
            continuance.




             DONE    AND   ORDERED      in Chambers, at Miami-Dade County, Florida, on this
        5th day of February, 2024




                                            7923-02781
                                                 -027816-CA-                 -05-2024 1:26 PM
                                            2023-027816-CAL0
                                                        CA-01 02-05-2024 1:26 PM

                                            Valerie R. Manno Schurr
                                            CIRCUIT COURT JUDGE
Case 1:24-cv-21329-DPG Document 1-1 Entered on FLSD Docket 04/10/2024 Page 33 of 65




    Copies Furnished to:
   Electronically Served

   David McGill, dkmcgill@mcgilllegal.com
   David McGill, info@mcgilllegal.com
   David McGill, ycastille@mcgilllegal.com
     Case 1:24-cv-21329-DPG Document 1-1 Entered on FLSD Docket 04/10/2024 Page 34 of 65
Filing # 191252000 E-Filed 02/05/2024 01:41:41 PM


                                                                   RETURN OF SERVICE

         State of Florida                                            County of Miami-Dade                                          Circuit Court

         Case Number: 2023-027816-CA-01

         Plaintiff:
         RANFORD TAYLOR
         vs.

         Defendant:
         FLORIDA EAST COAST RAILWAY CORP.

         For:
         David McGill, Esq
         The McGill Law Firm, LLC
         2655 S. LeJeune Road
         Suite 310
         Coral Gables, FL 33134

         Received by DLE Process Servers, Inc on the 1st day of February, 2024 at 1:15 pm to be served on Florida East Coast
         Railway Corporation c/o CT Corporation System, 1200 South Pine Island Road, Plantation, FL 33324.

         |, Carlos Vila Escobar, do hereby affirm that on the 2nd day of February, 2024 at 1:30 pm, I:

         serveda   CORPORATION by delivering a true copy of the Summons 20 Day Corporate Service, Complaint for Damages. at 1200 South
         Pine Island Road, Plantation, FL 33324 with the date and hour of service endorsed thereon by me, to: Dona Moch as Supervisor Of Process
         for Ct Corporation System, REGISTERED AGENT on behalf of Florida East Coast Railway Corporation and informing said person of
         the contents therein, in compliance state statutes.




        | certify that | am over the age of 18, have no interest in the above action, and am a Special Process Server, in good standing, in
        the judicial circuit in which the process was served.

         Under penalties of perjury, | declare that | have read the foregoing Verified Return of Service and that the facts stated are true. F.S.
         92.525. NOTARY NOT REQUIRED PURSUANT TO F.S. 92.525




                                                                                           coat


                                                                                            DLE   Process Servers, Inc
                                                                                           936 Sw 1st Avenue
                                                                                           #261
                                                                                            Miami,    FL 33130
                                                                                           (786) 220-9705

                                                                                           Our Job Serial Number: DLE-2024007547




                                             Copyright © 1992-2024 DreamBuilt Software, Inc. - Process Server's Toolbox V8.2t
          Case 1:24-cv-21329-DPG Document 1-1 Entered on FLSD Docket 04/10/2024 Page 35 of 65
                                                                                                            DELIVERED           2/2/2024        1:30   PM
Filing # 189138894 E-Filed 01/04/2024 08:51:24 PM                                                           SERVER              CV
                                                                                                            LICENSE             SPS_1683

        4     IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND                             FOR-}HAMPBABEGOUAAFLORIBA
        [J]   IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.

        DIVISION                                                                                                                                     CASE NUMBER
        A CIVIL                                                   SUMMONS 20 DAY CORPORATE SERVICE                                              2023-027816-CA-01
        ('] DISTRICTS                                                     (a) GENERAL FORMS
        (J OTHER
        PLAINTIFF(S)                                                          VS.   DEFENDANT(S)                                                            SERVICE
    RANFORD                 TAYLOR                                            FLORIDA      EAST     COAST      RAILWAY               CORP




        THE    STATE       OF   FLORIDA:

        To Each Sheriff of the State:

        YOU ARE COMMANDED                   to serve this summons and copy of the complaint or petition in this action on
        defendant(s), FLORIDA EAST COAST RAILWAY CORPORATION
                            clo 0      | CORPORATION              oYoTEM




                                                                                                                                                                             NI W9O719
                             1200 SOUTH           PINE ISLAND ROAD PLANTATION,                      FL 33324




        Each defendant is required to serve written defense to the complaint or petition on
        Plaintiff's Attorney; David McGill, Esq
        whose address ig. TNE McGill Law Firm LLC, 2655 S. LE JEUNE RD, SUITE 310
                                  CORAL         GABLES EL 33134


    within 20 days “ Except when                 suit is brought pursuant to s. 768.28, Florida Statutes, if the State of Florida, one of its agencies,
        or one of its officials or employees              sued    in his or her official capacity is a defendant, the time to respond                       shal! be 40 days.
    When           suit is brought pursuant to. 768.28, Florida Statutes, the time to respond shall be 30 days.” after service of this summons
        on that defendant        , exclusive    of the day of service,   and to file the original of the defenses with the Clerk of this Clerk Court either before

        service on Plaintiffs attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant for
    the relief demanded               in the complaint or petition.

                                                                                                                                                             DATE

 Juan          F            dez-Bardui                       Mh       iw
              CLERKof COURTS|                              pines            fins 96T6                              |                                              1/8/2024
                                                                             DEPUTY CLERK                              x        ste         |
                                               AMERICANS WITH DISABILITIES ACT OF:1990
                                                           ADA NOTICE
        “If you are a person with a disability who needs any accommodation in order to
        participate in this proceeding, you are entitled, at no cost to you, to the provision of certain
        assistance. Please contact Aliean Simpkins, the Eleventh Judicial Circuit Court’s ADA
    Coordinator,                      Lawson         E.    Thomas          Courthouse          Center,       175           NW        1   Avenue,             Suite    2400,
    Miami,    FL    33128; Telephone    (305)   349-7175;   TDD     (305)   349-7174,   Email
    ADA@jud11.flcourts.org; or via Fax at (305) 349-7355, at least seven (7) days before your
    scheduled court appearance, or immediately upon receiving this notification if the time
    before the scheduled appearance is less than seven (7) days; if you are hearing or voice
    impaired, call 711.”
 CLK/CT.           314   Rev. 09/19                                                                                         Clerk’s web address: www.miami-dadeclerk.com
     Case 1:24-cv-21329-DPG Document 1-1 Entered on FLSD Docket 04/10/2024 Page 36 of 65
Filing # 194478213 E-Filed 03/20/2024 08:50:08 PM


                      IN THE CIRCUIT COURT OF ELEVENTH JUDICIAL CIRCUIT,
                             IN AND FOR MIAMI -DADE COUNTY FLORIDA


        RANFORD TAYLOR,
                                                                         Case No: 2023-027816-CA-01
                        Plaintiff,

                VS.


        FLORIDA EAST COAST RAILWAY CORPORATION,
         a Foreign Profit Corporation,
        and Victor Granadillo,

                        Defendants.

                                     AMENDED    COMPLAINT AND DEMAND                FOR
                                                   JURY TRIAL

                 COMES      NOW       the Plaintiff, RANFORD     TAYLOR      (‘Plaintiff’), by and through the

         undersigned counsel, and by way of this Amended             Complaint seeks relief against Defendant

         FLORIDA      EAST COAST        RAILWAY     CORPORATION,         a foreign corporation, for violations of

         Title VU of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§2000e et seq. (“Title VII’),

         and the Florida Civil Rights Act of 1992, Florida Statutes §§760.01-760.11          (the “FCRA”).     In

         support thereof, Plaintiff states as follows:



                                          PRELIMINARY ALLEGATIONS
                                                         (Parties)


                1.      Plaintiff Ranford Taylor (hereinafter “Plaintiff’) is, and at all times material hereto

        was, an adult individual residing in the county of Broward, state of Florida. Plaintiff was an

        “employee” of Defendant and an “aggrieved person” within the meaning of 42 U.S.C. §2000e(f)

        and the FCRA § 760.02(10).
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          2.         Defendant Florida East Coast Railway Corporation (“Defendant FECR” or

  “Defendant’) hereinafter) is, and at all times material hereto was, a Foreign profit corporation,

  authorized to do business and doing business in, the state of Florida, with its offices located in

  Miami-Dade County, Florida. Defendant is and has been a covered “employer” within the meaning

  of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e(b) and the FCRA, at all times

  relevant to this Complaint. Defendant is a “person” within the meaning of 42 U.S.C. § 2000e(a).


          3.         Defendant Victor Granadillo (“Defendant Granadillo’”), is, and at all times material

  hereto is an individual residing and doing business in the county of Miami-Dade, state of Florida.


                                                        (Venue)


          4.         The actions alleged herein were entered into in the county of Miami-Dade, state of

  Florida, and the acts and transactions herein alleged took place in the county of Miami-Dade, state

  of Florida.


                                                 (Jurisdiction)


          5.         This is an action for damages in excess of the sum of Fifty Thousand dollars

  ($50,000.00) exclusive of interest, costs and/or attorneys’ fees.


          6.         This Court has jurisdiction over this case pursuant to 28 U.S.C. §1331, 28

  U.S.C.§1343, 28 U.S.C. §1367, 42 U.S.C. §2000e(5)(f)(3), and Florida Statutes §§760.11 and

  761.03-761.04. All conditions precedent to jurisdiction have occurred:


                1.   Plaintiff filed a charge of discrimination with the Equal Employment Opportunity

                     Commission (the “EEOC”) within 300 days of the commission of the unlawful

                     employment practices of the Defendant        FECR;
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                 2.   On or about September 27, 2023, the EEOC found reasonable cause to some of the

                      matters alleged in the charge and issued its Notice of Right to Sue;


                 3.   This complaint is being timely filed within 90 days of Plaintiff's receipt of the

                      EEOC’s Notice of Right to Sue.


                                                Statement of Case


           7.         Defendant FECR is a cargo transportation company.


           8.         At all times relevant, Plaintiff is and was an adult male of Jamaican national origin

  and a devoted Hebrew Israelite.


           9.         At all times relevant, Plaintiff has been a lifelong member of the Tenth Tabernacle

  Miami, which observes the Sabbath which begins on Friday evening at sundown and ends Saturday

  evening at sundown.


           10.        Plaintiff began his employment in 2009 and most recently held the position of

  Signal Maintenance at Defendant FECR. Plaintiff was highly qualified to perform the duties

  expected of him at his position.


           11.        Throughout the course of his employment and up to the time of his termination,

  Plaintiff consistently performed his duties in an exemplary manner.


           12.        Since 2015, Defendant FECR was aware that he was a devote Hebrew Israelite, and

  that it was forbidden for the Plaintiff to work on Saturdays based on his religious beliefs and the

  Bible.


           13.        Plaintiff notified Defendant FECR of his need to have Saturdays off pursuant to his

  religion.
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           14.     Initially, Defendant FECR accommodated Plaintiff by allowing him to have

  Saturdays off from work.


           15.     In 2017, Defendant Granadillo was Plaintiff?s co-worker and repeatedly objected to

  Plaintiff's reasonable accommodation for Saturdays off to practice his faith.


           16.     In fact, Defendant FECR allowed Defendant Granadillo to harass Plaintiff regarding

  his religious beliefs and threaten Plaintiff. Defendant Granadillo told Plaintiff that he “would fire

  him when I become supervisor.”


           17.     In or about May 2019, Defendant Granadillo became Plaintiff's supervisor.


           18.   | While Defendant Granadillo was Plaintiffs supervisor, Plaintiff was harassed and

  exposed to a hostile work environment because his religion and national origin.


           19.     Defendant FECR management and Defendant Granadillo would force Plaintiff to

  work on the Sabbath and gave preferential treatment to Hispanic individuals outside his protected

  class.


           20.     On several occasions, Defendant FECR management would unjustly criticize and

  make inappropriate jokes directly and indirectly about Plaintiff.


           21.     Plaintiff was told several times by Defendant Granadillo and management that they

  would no longer honor his reasonable accommodation. Plaintiff attempted to volunteer to work on

  Sundays for those who practice their religion on Sunday, however, this request was denied by

  Defendant FECR.


           22.     Again, Defendant Granadillo told Plaintiff that he was going to have him fired.


           23.     On September 9, 2020, Plaintiff was wrongfully reprimanded for allegedly not

  preforming his duties.
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          24.     A week later on September 16, 2020, Plaintiff was reprimanded by Defendant

  Granadillo for failing to follow protocols and received a 30-day suspension.


          25.     On November 6, 2020, Plaintiff was reprimanded for not following safety protocols.

  None of his Hispanic coworkers or employees outside his protected class were reprimanded.


          26.     On November 30, 2020, Plaintiff made a lawful complaint against Defendant FECR

  management for discrimination, unfair practices, and hostile work environment.


          27.     In retaliation for making a lawful complaint, on December 20, 2020, Plaintiff was

  reprimanded for safety violations. None of his Hispanic coworkers or employees outside his

  protected class were reprimanded.


          28.     Soon thereafter, on December 22, 2020, Plaintiff was wrongfully terminated.


                                              COUNT ONE


                          Failure to Accommodate      in Violation of the FCRA


          29.     Plaintiff incorporates by reference herein and re-alleges the allegations in Paragraph

   1 through 28 above as though set forth fully herein.


          30.     Plaintiff is, and at all times relevant herein was, a practicing member of the Tenth

  Tabernacle Miami. Pursuant to his Hebrew Israelite religious beliefs and in order to keep Saturday

  and/or the Sabbath holy, Plaintiff abstains from secular work from Friday evening at sundown in to

  Saturday evening at sundown.


          31.     Since on or about October of 2019, Plaintiff made numerous requests, both verbally

  and in writing, for religious accommodation.


          32.     The accommodation the Plaintiff requested would not have caused an undue

  hardship to the Defendant    FECR.
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          33.      Instead, of reasonably accommodating Plaintiff's sincerely held religious beliefs,

  Defendant disciplined Plaintiff and ultimately fired him.


          34.      By virtue of Defendant’s actions and inactions as set forth above, Defendant FECR

  has violated the FCRA with regard to Plaintiff by failing to accommodate his sincerely held

  religious beliefs.


          35.      Plaintiff's sincerely held religious belief was a motivating factor in refusing to

  accommodate Plaintiff.


          36.      The conduct of the Defendant FECR in not reasonably accommodating Plaintiff's

  beliefs was intentional. Defendant FECR engaged in a discriminatory practice or practices with

  malice or with reckless indifference to the federally protected rights of the Plaintiff.


          37.      As a direct and proximate result of Defendant’s actions, Plaintiff has suffered and

  will continue to suffer lost wages, benefits and entitlements, damage to career and reputation,

  personal humiliation, mental anguish, and embarrassment justifying an award including, but not

  limited to, back pay, lost benefits, front pay, compensatory damages, and punitive damages

  according to proof against Defendant FECR.


                                               COUNT TWO


                          Failure to Accommodate in Violation of the Title VII


          38.      Plaintiff incorporates by reference herein and re-alleges the allegations in Paragraph

   1 through 28 above as though set forth fully herein.


          39.      Plaintiff is, and at all times relevant herein was, a practicing member of the Tenth

  Tabernacle Miami. Pursuant to his Hebrew Israelite religious beliefs and in order to keep Saturday
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  and/or the Sabbath holy, Plaintiff abstains from secular work from Friday evening at sundown and

  to Saturday evening at sundown.


          40.      Since on or about October of 2019, Plaintiff made numerous requests, both verbally

  and in writing, for religious accommodation.


          4l.      The accommodation the Plaintiff requested would not have caused an undue

  hardship to the Defendant FECR.


          42.      Instead, of reasonably accommodating Plaintiffs sincerely held religious beliefs,

  Defendant disciplined Plaintiff and ultimately fired him.


          43.      By virtue of Defendant’s actions and inactions as set forth above, Defendant FECR

  has violated Title VI with regard to Plaintiff by failing to accommodate his sincerely held

  religious beliefs.


          44.          Plaintiff’s sincerely held religious belief was a motivating factor in refusing to

  accommodate Plaintiff.


          45.      The conduct of the Defendant FECR in not reasonably accommodating Plaintiff's

  beliefs was intentional. Defendant FECR engaged in a discriminatory practice or practices with

  malice or with reckless indifference to the federally protected rights of the Plaintiff.


          46.          Asadirect and proximate result of Defendant’s actions, Plaintiff has suffered and

  will continue to suffer lost wages, benefits and entitlements, damage to career and reputation,

  personal humiliation, mental anguish, and embarrassment justifying an award including, but not

  limited to, back pay, lost benefits, front pay, compensatory damages, and punitive damages

  according to proof against Defendant          FECR.
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                                             COUNT THREE


                            Religious Discrimination-Violation of the FCRA


           47.    Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

  through 28 as if set out in full herein.


           48.    At all times material hereto, Defendant FECR failed to comply with the FCRA,

  which states, in part, that it is an unlawful employment practice for an employer “[t]o discharge or

  to fail or refuse to hire any individual, or otherwise to discriminate against any individual with

  respect to compensation, terms, conditions, or privileges of employment, because of such

  individual's race, color, religion, sex, national origin, age, handicap, or marital status.” (emphasis

  added)


           49.    Plaintiff is a member of protected class of citizens who are Hebrew Israelites.


           50.    Hebrew Israelite is a recognized religious belief and the Defendant FECR was

  aware of Plaintiff's religious beliefs.


           51.    At all times necessary, Plaintiff was qualified to perform his duties.


           52.    After late 2019, Defendant FECR failed to legitimately offer Plaintiff any

  reasonable accommodation for Plaintiffs religious beliefs and actively engaged in actions to

  discourage other employees from accommodating Plaintiff's religious beliefs.


           53.    In its continuing effort to refuse any reasonable accommodation of Plaintiff’ s

  religious beliefs, Defendant FECR continuously reprimanded Plaintiff for following his religious

  beliefs until the Defendant FECR ultimately fired Plaintiff on December 22, 2020.


           54.    Because of Plaintiffs religious beliefs, Defendant FECR discriminated against

  Plaintiff and created a hostile work environment for Plaintiff which included, inter alia, allowing
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  other employees to mock Plaintiffs religious beliefs on a continuous basis, reprimanding Plaintiff

  for following his religious beliefs, and firing Plaintiff.


              55.   | Defendant FECR’s discrimination and harassing conduct towards Plaintiff was

  based on his religious beliefs.


              56.     Defendant FECR’s conduct was pervasive and regular and detrimentally affected

  Plaintiff.


              57.     Similarly situated employees who are not Hebrew Israelites were not subjected to

  the conduct described and referred to in paragraphs | through 28 and 38 through 47 of this

  Complaint.


              58.   | Defendant FECR violated the FCRA by discriminating against Plaintiff because of

  his religion. Alternatively, Plaintiff's religion was a motivating factor which prompted the

  Defendant FECR to harass and fire Plaintiff.


              59.     As a direct and proximate result of the Defendant FECR’s conduct, Plaintiff has

  suffered, is now suffering and will continue to suffer emotional distress, humiliation,

  embarrassment, and economic losses.


              60.     Any alleged nondiscriminatory reason for this treatment of Plaintiff by the

  Defendant FECR is a mere pretext for the actual reason for discriminating against him based on his

  religion.


              61.     Defendant FECR’s actions were malicious and were recklessly indifferent to

  Plaintiff's rights pursuant to Fla. Stat. §760.10.


              62.     The aforementioned actions of the Corporate Defendant FECR were done wantonly,

  willfully, maliciously and with reckless disregard of the consequences of such actions.
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                                               COUNT FOUR


                          Religious Discrimination - Violation of the Title VI


          63.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs |

  through 28 as if set out in full herein.


          64.     Plaintiff is a member of protected class of citizens who are Hebrew Israelites.


          65.     Hebrew Israelite is a recognized religious belief and the Defendant FECR was

  aware of Plaintiff's religious beliefs.


          66.     At all times necessary, Plaintiff was qualified to perform his duties.


          67.     After late 2019, Defendant FECR failed to legitimately offer Plaintiff any

  reasonable accommodation for Plaintiffs religious beliefs and actively engaged in actions to

  discourage other employees from accommodating Plaintiff's religious beliefs.


          68.     In its continuing effort to refuse any reasonable accommodation of Plaintiff’ s

  religious beliefs, Defendant FECR continuously reprimanded Plaintiff for following his religious

  beliefs until the Defendant FECR ultimately fired Plaintiff on December 22, 2020.


          69.   —_ Because of Plaintiffs religious beliefs, Defendant FECR discriminated against

  Plaintiff and created a hostile work environment for Plaintiff which included, inter alia, allowing

  other employees to mock Plaintiffs religious beliefs on a continuous basis, reprimanding Plaintiff

  for following his religious beliefs, and firing Plaintiff.


          70.     Because of Plaintiff's religious beliefs, Defendant discriminated against Plaintiff

  and created a hostile work environment for Plaintiff which included, inter alia, allowing other

  employees to mock Plaintiffs religious beliefs, and reprimanding Plaintiff for following his

  religious beliefs.
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              71.   | Defendant FECR’s conduct was pervasive and regular and detrimentally affected

  Plaintiff.


              72.     Similarly situated employees who are not Hebrew Israelites were not subjected to

  the conduct described and referred to in paragraphs 1 through 28 and 38 through 47 of this

  Complaint.


              73.     Defendant FECR violated the Title VII by discriminating against Plaintiff because

  of his religion. Alternatively, Plaintiffs religion was a motivating factor which prompted the

  Defendant FECR to harass and fire Plaintiff.


              74.     —Asadirect and proximate result of the Defendant FECR’s conduct, Plaintiff has

  suffered, is now suffering and will continue to suffer emotional distress, humiliation,

  embarrassment, and economic losses.


              75.     Any alleged nondiscriminatory reason for this treatment of Plaintiff by the

  Defendant FECR is a mere pretext for the actual reason for discriminating against him based on his

  religion.


              76.   | Defendant FECR’s actions were malicious and were recklessly indifferent to

  Plaintiff's rights.


              77.     The aforementioned actions of the Corporate Defendant FECR were done wantonly,

  willfully, maliciously and with reckless disregard of the consequences of such actions.
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                                              COUNT FIVE


                    Religious Harassment — Violation of Florida Statute 760.10(a)
                     as against Defendant FLORIDA EAST COAST RAILWAY


          78.    Plaintiff repeats and realleges each and every allegation in paragraphs | through 28

  above as though fully set forth at length herein.


          79.    At all times mentioned in this cause of action, all provisions of the Florida Civil

  Rights Act of 1992 were in full force and effect and were binding on Defendant FECR.


          80.    At all times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR and Defendant FECR was an Employer as defined by Florida Statute 760.02 (7).


          81.    Plaintiff'is a member of protected class of citizens who are Hebrew Israelites.

  During Plaintiff’s employment with Defendant FECR, Defendant FECR harassed Plaintiff on the

  basis of his religion (Hebrew Israelite) and subjected Plaintiff to an intimidating, hostile and

  offensive work environment.     Defendant’s harassment included, but was not limited to, the

  following:


          82.    Subjecting Plaintiff to different terms and conditions of employment than non-

  Hebrew Israelites employees by not allowing him time off for his Sabbath;

          83.    Humiliating Plaintiff because of his religion;

          84.    Treating Plaintiff differently than non-Hebrew Israelites employees by not fully

  investigating his lawful complaint of religious discrimination and harassment;

          85.    Treating Plaintiff differently than non-Hebrew Israelites employees by subjecting

  Plaintiff to excessive harassment when evaluating his work performance;

          86.    Subjecting Plaintiff to a hostile work environment;

          87.    Allowing Plaintiff’s supervisor to treat Plaintiff differently than non-Hebrew
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  Israelites employees by trying to humiliate him in front of his colleagues;

           88.      Allowing Plaintiff’s supervisor to subject Plaintiff to arbitrary, unfair, and dishonest

  criticisms; and

           89.      Wrongfully terminating Plaintiff without cause.

           90.      As a proximate result of Defendant FECR’s unlawful conduct, as set forth above,

  Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

  comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

  and other employment benefits, all to his detriment, in an amount to be shown according to proof.

           91.      Asa    further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.

           92.      Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as provided by Florida

  Statute §760.11.

           93.      Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.

                                                 COUNT SIX

                                Religious Harassment — Violation of Title VII
                          as against Defendant FLORIDA EAST COAST RAILWAY
           94.      Plaintiff repeats and realleges each and every allegation in paragraphs | through 28

  above as though fully set forth at length herein.


           95.      At all times mentioned in this cause of action, all provisions of the Title VII were in

  full force and effect and were binding on Defendant FECR.
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          96.     At all times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR and Defendant FECR was an Employer.


          97.     Plaintiff is a member of protected class of citizens who are Hebrew Israelites.

  During Plaintiff's employment with Defendant FECR, Defendant FECR harassed Plaintiff on the

  basis of his religion (Hebrew Israelite) and subjected Plaintiff to an intimidating, hostile and

  offensive work environment.       Defendant’s harassment included, but was not limited to, the

  following:


                  Subjecting Plaintiff to different terms and conditions of employment than non-

                  Hebrew Israelites employees by not allowing him time off for his Sabbath;

                . Humiliating Plaintiff because of his religion;

                  Treating Plaintiff differently than non-Hebrew Israelites employees by not fully

                  investigating his lawful complaint of religious discrimination and harassment;

                  Treating Plaintiff differently than non-Hebrew Israelites employees by subjecting

                  Plaintiff to excessive harassment when evaluating his work performance;

                  Subjecting Plaintiff to a hostile work environment;

                . Allowing Plaintiffs supervisor to treat Plaintiff differently than non-Hebrew

                  Israelites employees by trying to humiliate him in front of his colleagues;

                . Allowing Plaintiffs supervisor to subject Plaintiff to arbitrary, unfair, and dishonest

                  criticisms; and

                . Wrongfully terminating Plaintiff without cause.

          98.     As a proximate result of Defendant FECR’s unlawful conduct, as set forth above,

  Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent
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  comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

  and other employment benefits, all to his detriment, in an amount to be shown according to proof.


           99.    Asa   further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.


           100.   Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit.


           101.   Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.


                                              COUNT       SEVEN


                                     Retaliation - Violation of FCRA


           102.   Plaintiff incorporates by reference herein and re-alleges the allegations in Paragraph

   1 through 28 above as though set forth fully herein.


           103.   Plaintiff is, and at all times relevant herein was, a practicing member of the Tenth

  Tabernacle Miami. Pursuant to his Hebrew Israelite religious beliefs and in order to keep Saturday

  and/or the Sabbath holy, Plaintiff abstains from secular work from Friday evening at sundown and

  to Saturday evening at sundown.


           104.   Plaintiff engaged in actions protected by the FCRA to receive accommodations

  from Defendant FECR for his religious beliefs, including, but not limited to, making numerous oral

  and written requests for accommodation.
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          105.    Because of Plaintiffs protected actions, Defendant FECR retaliated against Plaintiff

  by, among other things, creating a hostile work environment for Plaintiff, reprimanding Plaintiff

  for his religious beliefs, and terminating Plaintiff.


          106.    The conduct of the Defendant FECR in retaliating against Plaintiff because of his

  protected actions was intentional. Defendant FECR engaged in a discriminatory practice or

  practices with malice or with reckless indifference to the protected rights of the Plaintiff.


          107.    Asadirect and proximate result of Defendant FECR’s actions, Plaintiff has suffered

  and will continue to suffer lost wages, benefits and entitlements, damage to career and reputation,

  personal humiliation, mental anguish, and embarrassment justifying an award including, but not

  limited to, back pay, lost benefits, front pay, compensatory damages, and punitive damages

  according to proof against Defendant FECR.


                                              COUNT EIGHT


                                    Retaliation - Violation of Title VII


          108.    Plaintiff incorporates by reference herein and re-alleges the allegations in Paragraph

   1 through 28 above as though set forth fully herein.


          109.    Plaintiff is, and at all times relevant herein was, a practicing member of the Tenth

  Tabernacle Miami. Pursuant to his Hebrew Israelite religious beliefs and in order to keep Saturday

  and/or the Sabbath holy, Plaintiff abstains from secular work from Friday evening at sundown and

  to Saturday evening at sundown.


          110.    Plaintiff engaged in actions protected by Title VII to receive accommodations from

  Defendant FECR for his religious beliefs, including, but not limited to, making numerous oral and

  written requests for accommodation.
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          111.    Because of Plaintiff's protected actions, Defendant FECR retaliated against Plaintiff

  by, among other things, creating a hostile work environment for Plaintiff, reprimanding Plaintiff

  for his religious beliefs, and terminating Plaintiff.


          112.    The conduct of the Defendant FECR in retaliating against Plaintiff because of his

  protected actions was intentional. Defendant FECR engaged in a discriminatory practice or

  practices with malice or with reckless indifference to the protected rights of the Plaintiff.


          113.    Asa    direct and proximate result of Defendant FECR’s actions, Plaintiff has suffered

  and will continue to suffer lost wages, benefits and entitlements, damage to career and reputation,

  personal humiliation, mental anguish, and embarrassment justifying an award including, but not

  limited to, back pay, lost benefits, front pay, compensatory damages, and punitive damages

  according to proof against Defendant FECR.


                                              COUNT EIGHT


                 National Origin Harassment — Violation of Florida Statute 760.10(a)
                        as against Defendant FLORIDA EAST COAST RAILWAY
          114.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 28

  above as though fully set forth at length herein.


          115.     Atall times mentioned in this cause of action, all provisions of the Florida Civil

  Rights Act of 1992 were in full force and effect and were binding on Defendant FECR.

          116.    Atall times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR and Defendant FECR was an Employer as defined by Florida Statute 760.02 (7).


          117.    Plaintiff is a male of Jamaican origin.   During Plaintiff's employment with

  Defendant FECR, Defendant FECR harassed Plaintiff on the basis of his national origin (Jamaican)
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  and subjected Plaintiff to an intimidating, hostile and offensive work environment.       Defendant’s

  harassment included, but was not limited to, the following:


                    Subjecting Plaintiff to different terms and conditions of employment than non-

                    Jamaican employees;

                    Holding Plaintiff to different standards than non-Jamaican American employees;

                    Treating Plaintiff differently than non-Jamaican American employees by not fully

                    investigating his lawful complaint of national origin discrimination and harassment;

                    Treating Plaintiff differently than non-Jamaican American employees by subjecting

                    Plaintiff to excessive harassment when evaluating his work performance;

                    Subjecting Plaintiff to a hostile work environment;

                  . Allowing Plaintiffs supervisor to treat Plaintiff differently than non-Jamaican

                    American employees by trying to humiliate him in front of his colleagues;

                  . Allowing Plaintiffs supervisor to subject Plaintiff to arbitrary, unfair, and dishonest

                    criticisms; and

                  . Wrongfully terminating Plaintiff without cause.

           118.     AS a proximate result of Defendant FECR’s unlawful conduct, as set forth above,

  Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

  comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

  and other employment benefits, all to his detriment, in an amount to be shown according to proof.


           119.     As a further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.
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          120.        Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as provided by Florida

  Statute $760.11.


          121.        Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.


                                                  COUNT NINE


                             National Origin Harassment — Violation of Title VII
                         as against Defendant FLORIDA EAST COAST RAILWAY
          122.        Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 28

  above as though fully set forth at length herein.


          123.        Atall times mentioned in this cause of action, all provisions of Title VII of the Civil

  Rights Act of 1964 were in full force and effect and were binding on Defendant FECR.


          124.        Atall times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR and Defendant FECR was an Employer as defined Title VII of the Civil Rights

  Act of 1964.


          125.        Plaintiff is a male of Jamaican origin. During Plaintiff's employment with

  Defendant FECR, Defendant FECR harassed Plaintiff on the basis of his national origin (Jamaican)

  and subjected Plaintiff to an intimidating, hostile and offensive work environment.        Defendant’s

  harassment included, but was not limited to, the following:


                 1.   Subjecting Plaintiff to different terms and conditions of employment than non-

                      Jamaican employees;

                 2.   Holding Plaintiff to different standards than non-Jamaican American employees;

                 3.   Treating Plaintiff differently than non-Jamaican American employees by not fully
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                       investigating his lawful complaint of national origin discrimination and harassment;

                  4.   Treating Plaintiff differently than non-Jamaican American employees by subjecting

                       Plaintiff to excessive harassment when evaluating his work performance;

                  5.   Subjecting Plaintiff to a hostile work environment;

                  6.   Allowing Plaintiff's supervisor to treat Plaintiff differently than non-Jamaican

                       American employees by trying to humiliate him in front of his colleagues;

                  7.   Allowing Plaintiff's supervisor to subject Plaintiff to arbitrary, unfair, and dishonest

                       criticisms; and

                  8.   Wrongfully terminating Plaintiff without cause.

           126.        Asa proximate result of Defendant FECR’s unlawful conduct, as set forth above,

  Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

  comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

  and other employment benefits, all to his detriment, in an amount to be shown according to proof.


           127.        Asa   further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.


           128.        Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as provided by Title VII of

  the Civil Rights Act of 1964.


           129.        Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.
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                                                    COUNT TEN

                  National Origin Discrimination — Violation of Florida Statute 760.10(a)
                               as against FLORIDA EAST COAST RAILWAY
          130.        Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 28

  above as though fully set forth at length herein.


          131.        Atall times mentioned in this cause of action, all provisions of the Florida Civil

  Rights Act of 1992 were in full force and effect and were binding on Defendant FECR.


          132.        Atall times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR, and Defendant FECR was an Employer as defined by Florida Statute 760.02 (7).


          133.        During Plaintiff's employment with Defendant FECR, Defendant discriminated

  Plaintiff on the basis of his national origin (Jamaican). Defendant’s discrimination included, but

  was not limited to, the following:


                 1.   Subjecting Plaintiff to different terms and conditions of employment than non-

                      Jamaican American employees;

                 2.   Holding Plaintiff to different standards than non-Jamaican American employees;

                 3.   Treating Plaintiff differently than non-Jamaican American employees by not fully

                      investigating his lawful complaint of national origin discrimination and harassment;

                 4.   Subjecting Plaintiff to a hostile work environment;

                 5.   Treating Plaintiff differently than non-Jamaican American employees by refusing to

                      transfer or reassign Plaintiff to different area;

                 6.   Allowing Plaintiff's supervisor to treat Plaintiff differently than non-Jamaican

                      American employees by trying to humiliate him in front of his colleagues;

                 7.   Allowing Plaintiff's supervisor to subject Plaintiff to arbitrary, unfair, and dishonest
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                       criticisms; and

                  8.   Wrongfully terminating Plaintiff without cause.

           134.        Asa proximate result of Defendant FECR’s unlawful conduct, as set forth above,

  Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

  comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

  and other employment benefits, all to his detriment, in an amount to be shown according to proof.


           135.        Asa   further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.


           136.        Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as provided by Florida

  Statute §760.11.


           137.        Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.


                                                 COUNT ELEVEN


                             National Origin Discrimination — Violation of Title VII
                                as against FLORIDA EAST COAST RAILWAY
           138.        Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 28

  above as though fully set forth at length herein.


           139.        At all times mentioned in this cause of action, all provisions of the Title VII of the

  Civil Rights Act of 1964 were in full force and effect and were binding on Defendant FECR.
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          140.     At all times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR, and Defendant FECR was an Employer as defined by Title VII of the Civil

  Rights Act of 1964.

          141.     During Plaintiff's employment with Defendant FECR, Defendant discriminated

  Plaintiff on the basis of his national origin (Jamaican). Defendant’s discrimination included, but

  was not limited to, the following:


                   Subjecting Plaintiff to different terms and conditions of employment than non-

                   Jamaican American employees;

                 . Holding Plaintiff to different standards than non-Jamaican American employees;

                   Treating Plaintiff differently than non-Jamaican American employees by not fully

                   investigating his lawful complaint of national origin discrimination and harassment;

                   Subjecting Plaintiff to a hostile work environment;

                   Treating Plaintiff differently than non-Jamaican American employees by refusing to

                   transfer or reassign Plaintiff to different area;

                 . Allowing Plaintiffs supervisor to treat Plaintiff differently than non-Jamaican

                   American employees by trying to humiliate him in front of his colleagues;

                 . Allowing Plaintiffs supervisor to subject Plaintiff to arbitrary, unfair, and dishonest

                   criticisms; and

                 . Wrongfully terminating Plaintiff without cause.

          142.     As a proximate result of Defendant FECR’s unlawful conduct, as set forth above,

  Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

  comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay

  and other employment benefits, all to his detriment, in an amount to be shown according to proof.
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           143.   Asa    further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.


           144.   Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorneys’ fees and costs.


           145.   Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.


                                                COUNT SIX
                           Retaliation - Violation of Florida Statute 760.10 (7)
                        As against Defendant FLORIDA EAST COAST RAILWAY
           146.   Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 28

  above as though fully set forth at length herein.


           147.   Plaintiff complained to Defendant FECR management regarding the religious and

  national origin discrimination and harassment he was subjected to by Defendant FECR

  Management.


           148.   By terminating Plaintiff for complaining about unlawful harassment and

  discrimination, Defendant is in violation of Florida Statute 760.10(7).


           149.    Atall times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR and Defendant FECR was an employer as defined by Florida Statute 760.02(7).


           150.   During Plaintiff's employment, Defendant FECR management retaliated against

  Plaintiff for participating in actions protected under the Florida Civil Rights Act of 1992, when he
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  complained about the harassment Defendants were subjecting him to as more fully set forth in

  paragraph 147 above.


           151.   This retaliatory course of conduct at work, included, but was not limited to, the


  following:


           1.     Subjecting Plaintiff to different terms and conditions of employment;


           2.     Holding Plaintiff to different standards than Non-Jamaican American employees;


           3.     Treating Plaintiff unfavorably based upon his national origin;


           4.     Treating Plaintiff differently than non-Jamaican American employees by subjecting

                  Plaintiff to excessive harassment;


           5.     Allowing Plaintiffs supervisor to subject Plaintiff to arbitrary, unfair, and dishonest

                  criticisms; and


           6.     Wrongfully terminating Plaintiff without cause.


           152.   Asa proximate result of Defendant     FECR’s unlawful conduct, as set forth above,

  Plaintiff has suffered and continues to suffer substantial losses incurred in seeking subsequent

  comparable employment, earnings, deferred compensation, earning capacity, back pay, front pay,

  and other employment benefits, all to his detriment, in an amount to be shown according to proof.


           153.   Asa   further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.
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          154.      Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorney’s fees and costs of said suit, as provided by Florida

  Statute 760.11.


          155.      Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.


                                             COUNT TWELVE


                                     Retaliation - Violation of Title VII
                      As against Defendant FLORIDA EAST COAST RAILWAY
          156.      Plaintiff repeats and realleges each and every allegation in paragraphs | through 28

  above as though fully set forth at length herein.


          157.      Plaintiff complained to Defendant FECR management regarding the discrimination

  and harassment he was subjected to by Defendant FECR Management.


          158.      By terminating Plaintiff for complaining about unlawful harassment and

  discrimination, Defendant is in violation of Title VII of the Civil Rights Act of 1964.


          159.      Atall times mentioned in this cause of action, Plaintiff was an employee of

  Defendant FECR and Defendant FECR was an employer as defined by Title VII of the Civil Rights

  Act of 1964.


          160.      During Plaintiff's employment, Defendant FECR management retaliated against

  Plaintiff for participating in actions protected under Title VII of the Civil Rights Act of 1964.,

  when he complained about the harassment Defendants were subjecting him to as more fully set

  forth in paragraph 157 above.


          161.      This retaliatory course of conduct at work, included, but was not limited to, the


  following:
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                      1.      Subjecting Plaintiff to different terms and conditions of employment than

                              other employees;


                      2.      Holding Plaintiff to different standards than Non-Jamaican American

                              employees;


                      3.      Treating Plaintiff unfavorably based upon his national origin;


                      4.      Treating Plaintiff differently than non-Jamaican American employees by

                              subjecting Plaintiff to excessive harassment;


                      5.      Allowing Plaintiff’s supervisor to subject Plaintiff to arbitrary, unfair, and

                              dishonest criticisms; and


                      6.     Wrongfully terminating Plaintiff without cause.


              162.   Asaproximate result of Defendant FECR’s unlawful conduct, as set forth above,


              163.   Plaintiff has suffered and continues to suffer substantial losses incurred in seeking

  subsequent comparable employment, earnings, deferred compensation, earning capacity, back pay,

  front pay, and other employment benefits, all to his detriment, in an amount to be shown according

  to proof.


              164.   Asa   further proximate result of Defendant FECR’s unlawful conduct, Plaintiff has

  suffered and continues to suffer physical personal injuries, embarrassment, humiliation, mental

  anguish, and other general damages, all to his detriment, in an amount to be shown according to

  proof.


              165.   Moreover, as a result of Defendant FECR’s unlawful conduct, as alleged herein,

  Plaintiff is entitled to reasonable attorney’s fees and costs of said suit, as provided by Title VI of

  the Civil Rights Act of 1964.
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          166.        Plaintiff demands judgment against Defendant FECR, a trial by jury on all issues so

  triable, and any other relief the Court deems just and proper.


                                               COUNT THIRTEEN

                      Tortious Interference with a Business/Employment Relationship as
                                        against Defendant Victor Granadillo
          167.         Plaintiff repeats and realleges each and every allegation in paragraphs 1| through 28

  above, as though fully set forth at length herein.

          168.        Plaintiff alleges that at all times relevant to this cause of action, Defendant Victor

  Granadillo was not acting within the course and scope of his employment but rather was acting with

  ulterior purposes and without an honest belief that his actions would benefit his employer FECR.

          169.        Plaintiff and Defendant FECR entered into a business relationship whereby Plaintiff

  would be employed as Signal Maintenance.

          170.        Defendant Victor Granadillo knew Plaintiff had a business/employment relationship

  with Defendant FECR and knew the terms and conditions of Plaintiffs business/employment with

  Defendant FECR.

          171.        Defendant Victor Granadillo tortiously interfered with Plaintiff's

  business/employment relationship by:

                 1.   Creating a hostile work environment on the basis of Plaintiff’s religion and national

                      origin;

                 2.   Harassing Plaintiff;

                 3.   Providing misleading information to FECR management in an attempt to influence

                      and advise FECR to initiate an adverse employment action against Plaintiff;

                 4.   Retaliating against Plaintiff for objecting to religion and national origin

                      discrimination/harassment and by advising and causing Plaintiff to be terminated by

                      FECR.
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          172.     Defendant Victor Granadillo intended on interfering with the business/employment

  relationship between Plaintiff and Defendant FECR, when he engaged in the conduct outlined above

  in paragraph 171.

          173.     Asa proximate result of Defendant Victor Granadillo’s tortious interference as

  alleged herein, Plaintiff has suffered substantial losses and damages incurred in lost income, lost

  future income, bonuses, medical benefits and other compensation, back pay, front pay, and in

  earning capacity in an amount to be determined according to proof.

          174.   Asa   further direct and proximate result of the wrongful acts of Defendant Victor

  Granadillo, Plaintiff has suffered shock, anger, embarrassment, humiliation, anguish, and other

  emotional distress, all to Plaintiff's general damages in a sum which has not yet been finally

  ascertained, and which will be shown according to proof.

          175.   Plaintiff demands judgment against the Defendant Victor Granadillo, a trial by jury on

  all issues so triable and any other relief this Court deems just and proper.


                                         PRAYER FOR RELIEF


         WHEREFORE,          Plaintiff prays judgment against Defendants as follows:


          1.      For special and economic damages, including but not limited to, back pay and front

  pay, past, present, and future income, compensatory damages, lost wages and lost employee

  benefits, for all Causes of Action


         2.       For general damages and non-economic damages, mental and emotional distress

  damages, damages for physical injuries and anguish, and other special and general damages

  according to proof, for all Causes of Action;


          3.      For an award of interest, including prejudgment interest, at the legal rate;

         4.       For Attorneys’ fees under the applicable Florida Statutes;
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         5.      For injunctive relief including requiring Defendant FECR to adopt reasonable

  postings and changes in personnel policies and procedures regarding race harassment,

  discrimination and retaliation, requiring training about race harassment for all managerial

  employees, for a permanent injunction enjoining Defendant FECR, its agents, successors and

  employees and those acting in concert with them from engaging in each of the unlawful practices,

  policies, usages and customs set forth hereinabove, and for such other injunctive relief as the Court

  may deem proper;

         6.      For costs and fees of suit herein incurred;

         7.      For such other and further relief as the Court may deem proper.


  Dated this 20" day of March 2024.
                                                                       Respectfully Submitted,

                                                                       David McGill, Esquire
                                                                       Florida Bar No. 021872
                                                                       Attorney for Plaintiff
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